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                                UNITED STATES DISTRICT COURT
 1
                                        DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                       )
 4
                                                     )
                          Plaintiff,                 )        Case No.: 2:16-cr-46-GMN-PAL
 5           vs.                                     )
                                                     )                    ORDER
 6   GREGORY P. BURLESON,                            )
                                                     )
 7
                          Defendant.                 )
 8                                                   )

 9

10           Pending before the Court is the Report and Recommendation (ECF No. 1277) entered by

11   Magistrate Judge Peggy A. Leen on January 11, 2017, denying Defendant Gregory P.

12   Burleson’s (“Defendant’s”) Motions to Suppress (ECF Nos. 876, 982). Defendant timely filed

13   his Objection (ECF No. 1344), to which the Government timely filed a Response (ECF

14   No. 1477).

15   I.       BACKGROUND

16           On March 2, 2016, a federal grand jury sitting in the District of Nevada returned a

17   Superseding Indictment charging Defendant with eleven counts related to a confrontation on

18   April 12, 2014, with Bureau of Land Management (“BLM”) Officers in Bunkerville, Nevada.

19   (ECF No. 27).

20           In his first Motion to Suppress, Defendant seeks to suppress statements that he made in a

21   videotaped interview with Longbow Productions Company (“Longbow Productions”) on

22   October 27, 2014, because he was “extremely intoxicated.” (First Mot. to Suppress 1:17–19,

23   ECF No. 897). Defendant’s second Motion to Suppress then seeks to suppress a recorded

24   phone call on January 16, 2015, between Defendant and a Federal Bureau of Investigation

25   (“FBI”) Special Agent because this conversation was the “direct product of the earlier



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 1   unconstitutional admissions he made to the ‘Longbow’ agents.” (Second Mot. to Suppress
 2   1:22–23, ECF No. 982). Defendant requested an evidentiary hearing in both Motions to
 3   Suppress. In her Report and Recommendation, Judge Leen rejected these arguments and
 4   recommended denial of both Motions without an evidentiary hearing. (R. & R. 6:19–27, 10:5–
 5   12:2, ECF No. 1277).
 6   II.      LEGAL STANDARD
 7            A party may file specific written objections to the findings and recommendations of a
 8   United States Magistrate Judge made pursuant to Local Rule IB 1-4. 28 U.S.C. § 636(b)(1)(B);
 9   D. Nev. R. IB 3-2. Upon the filing of such objections, the Court must make a de novo
10   determination of those portions of the Report to which objections are made. Id. The Court may
11   accept, reject, or modify, in whole or in part, the findings or recommendations of the Magistrate
12   Judge. 28 U.S.C. § 636(b)(1); D. Nev. IB 3-2(b).
13   III.     DISCUSSION
14            Defendant asserts several objections to Judge Leen’s Report and Recommendation
15   denying his Motion to Dismiss. (Obj., ECF No. 1344). First, Defendant argues that Judge Leen
16   erred in not allowing an evidentiary hearing. (Id. 2:1–3:22). Second, Defendant contends that
17   Judge Leen erred in finding Defendant’s statements to Longbow Productions voluntary under
18   the totality of the circumstances. (Id. 3:23–5:25). Third, Defendant asserts Judge Leen erred in
19   not finding his phone call with the FBI Special Agent to be fruit of the poisonous tree as “the
20   product of the illegal and unconstitutional Longbow [Productions] interrogation.” (Id. 5:26–
21   6:24). As such, these objections do not present new or rebuttal legal arguments, but rather
22   request that this Court reject Judge Leen’s determinations.
23            Having reviewed the record in this case de novo, the Court agrees with the analysis and
24   findings of Judge Leen in her Report and Recommendation (ECF No. 1277) denying the
25   Motions to Suppress and incorporates them by reference in this order. Regarding Defendant’s


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 1   first objection, the Court agrees with Judge Leen that no evidentiary hearing is necessary. A
 2   motion to suppress requires an evidentiary hearing “only when the moving papers allege with
 3   sufficient definiteness, clarity, and specificity to enable the trial court to conclude that contested
 4   issues of fact exist.” United States v. Howell, 231 F.3d 615, 620 (9th Cir. 2000). Further, “[a]
 5   hearing will not be held on a defendant’s pre-trial motion to suppress merely because a
 6   defendant wants one.” Id. at 621 (citation omitted). Defendant argues that he should have been
 7   allowed an evidentiary hearing to demonstrate that the agents filming the Longbow Productions
 8   video “deliberately got him drunk and then subtly coerced him by using sophisticated
 9   psychological manipulation.” (Obj. 2:15–16).1 However, upon review of the Longbow
10   Productions video, the Court agrees with Judge Leen that “the video belies [Defendant’s]
11   unsupported claims [that] he was plied with alcohol by the agents or grossly intoxicated.” (R. &
12   R. 6:25–26). Defendant asserts that he would testify at an evidentiary hearing as to the
13   “amount” and “effect” of the alcohol, specifically that he was “too intoxicated to think clearly”
14   (Obj. 2:27–28, 3:18–19), but these assertions are clearly contradicted by the video itself, in
15   which Defendant speaks coherently and without slurring his words (see Video, Ex. A to Gov’t
16   Resp., ECF No. 1072). Accordingly, the Court finds that an evidentiary hearing is not required.
17          As to Defendant’s second objection, the Court agrees with Judge Leen that Defendant’s
18   statements in the Longbow Productions video were voluntary. The Government bears the
19   burden of demonstrating voluntariness by a preponderance of the evidence. United States v.
20   Jenkins, 938 F.2d 934, 937 (9th Cir. 1991). A statement is voluntary “if it is the product of a
21   rational intellect and a free will whether [or not] a confession is the product of physical
22   intimidation or psychological pressure [or] a drug- [alcohol-] induced statement.” Medeiros v.
23   Shimoda, 889 F.2d 819, 823 (9th Cir. 1989) (internal quotation marks omitted) (insertions in
24   1
      Additionally, Defendant contends: “The government agents also knew of the defendant’s proclivity for alcohol
     knowing of this prior conviction for DUI.” (Id. 5:10–11). However, Defendant presents no foundation for this
25
     assertion.


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 1   original). Courts must consider the “totality of the circumstances,” including such factors as
 2   “the degree of police coercion; the length, location and continuity of the interrogation; and the
 3   defendant’s maturity, education, physical condition, mental health, and age.” Brown v. Horell,
 4   644 F.3d 969, 979 (9th Cir. 2011). “Ultimately, the voluntariness ‘determination depends upon
 5   a weighing of the circumstances of pressure against the power of resistance of the person
 6   confessing.’” United States v. Preston, 751 F.3d 1008, 1016 (9th Cir. 2014) (quoting Dickerson
 7   v. United States, 530 U.S. 428, 434 (2000)).
 8          Here, there was no police coercion, as Defendant was clearly open and willing to share
 9   his thoughts, views, and experiences. Additionally, despite partaking in alcoholic beverages,
10   Defendant spoke clearly, demonstrating his “rational intellect and free will.” See Medeiros, 889
11   F.2d at 823. After considering the totality of the circumstances, the Court finds that by
12   providing the Longbow Productions video, the Government sufficiently demonstrated
13   Defendant’s voluntariness by a preponderance of the evidence. As Judge Leen explained, “The
14   record simply does not support Burleson’s claim that he was physically or mentally impaired,
15   or ‘grossly intoxicated’ at any point during the interview. [Rather,] [t]he video depicts a person
16   who is eager to talk about the events” in Bunkerville. (R. & R. 11:10–12). Accordingly, the
17   Court find that Defendant’s statements made to Longbow Productions were voluntary.
18          Lastly, Defendant’s third objection regarding the phone call is moot because it
19   necessarily requires the original interview to have been an unconstitutional interrogation.
20   Because Defendant’s statements to Longbow Productions were voluntary, the January 2015
21   phone call with the FBI Special Agent cannot be fruit of the poisonous tree. Further, upon
22   review of the phone call, it is clear that the FBI Special Agent is returning Defendant’s call, so
23   nothing about the phone call indicates involuntariness or coercion. (See Phone Call Recording,
24   Ex. B to Gov’t Resp., ECF No. 1072).
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 1            Accordingly, Defendant’s Objection (ECF No. 1344) is overruled. The Court accepts
 2   and adopts Judge Leen’s Report and Recommendation (ECF No. 1277) to the extent that it is
 3   not inconsistent with this opinion and denies Defendant’s Motions to Suppress (ECF Nos. 876,
 4   982).
 5   IV.     CONCLUSION
 6           IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 1277) is
 7   ACCEPTED and ADOPTED in full.
 8           IT IS FURTHER ORDERED that Defendant’s Motions to Suppress (ECF Nos. 876,
 9   982) are DENIED.
10           DATED this _____
                           6 day of February, 2017.

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12                                              ___________________________________
                                                Gloria M. Navarro, Chief Judge
13                                              United States District Court
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